Case 2:22-bk-11335-VZ             Doc 8 Filed 03/10/22 Entered 03/10/22 20:17:20          Desc
                                   Main Document    Page 1 of 6



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 6 [Proposed] Attorneys for the Debtor and
   Debtor in Possession, Dov Charney
 7

 8                                UNITED STATES BANKRUPTCY COURT

 9                 CENTRAL DISTRICT OF CALIFORNIA, LOS ANGELES DIVISION
10 In re                                                 Case No.: 2:22-bk-11335-dz

11 DOV CHARNEY,                                          Adv. Case No.

12                      Debtor.                          Chapter 11

13                                                       NOTICE OF REMOVAL OF STATE
   P STANDARD GENERAL LTD., and                          COURT ACTION
14 STANDARD GENERAL MASTER FUND,
   L.P.,                                                 [28 U.S.C. § 1452; Fed. R. Bankr. P. 9027]
15
              Judgment Creditors,                        [No Hearing Required]
16
         vs.
17
   DOV CHARNEY; ART, COMMERCE &
18 MANUFACTURING SOLUTIONS, LLC;
   and APEX REAL ESTATE MANAGEMENT,
19 LLC,

20                      Judgment Debtors.
21

22            TO       THE    HONORABLE        THEODOR         C.     ALBERT,     UNITED      STATES
23 BANKRUPTCY JUDGE, THE OFFICE OF THE UNITED STATES TRUSTEE, ALL

24 INTERESTED PARTIES AND/OR THEIR COUNSEL OF RECORD:

25            PLEASE TAKE NOTICE that pursuant to Rule 9027 of the Federal Rules of Bankruptcy
26 Procedure and 28 U.S.C. §§ 157(a), 157(b), 157(b)(2), 1334 and 1452, Dov Charney (the “Debtor”),

27 the Debtor in the above-captioned bankruptcy case (the “Bankruptcy Case”), hereby removes to the

28 above-captioned bankruptcy court (the “Court”) the action pending in the California Superior Court

     1249111.2/81961.05002                           1
                                             NOTICE OF REMOVAL
Case 2:22-bk-11335-VZ            Doc 8 Filed 03/10/22 Entered 03/10/22 20:17:20                 Desc
                                  Main Document    Page 2 of 6



 1 (Los Angeles County) (the “State Court Action”), entitled P Standard General Ltd, et al. v. Dov

 2 Charney, et al., Case No. BS172538 (the “Removed Case”), assigned to the Honorable Monica

 3 Bachner, including any and all cross-complaints, counterclaims, or actions subsumed or combined

 4 with the State Court Action, and any and all matters pending therein.

 5            In support of the removal of the State Court Action, the Debtor respectfully submits the

 6 following:

 7            1.        On or about February 16, 2018, Plaintiffs P Standard General LTD. and Standard

 8 General Master Fund L.P. (“Plaintiffs”) initiated the State Court Action against Dov Charney and

 9 other defendants, by filing an Application For Entry of Judgment on Sister-State Judgment.
10            2.        On or about February 22, 2019, Plaintiffs filed a Motion to Amend the Judgment to
11 add certain non-parties as judgment debtors based on the theory that they are alter-ego’s of Dov

12 Charney, including that Plaintiffs sought to add Los Angeles Apparel, Inc. as a judgment debtor.

13 Plaintiffs efforts to reverse pierce the corporate veil have been contested by Los Angeles Apparel,

14 Inc. and certain innocent intervening parties who would be greatly and irreparably prejudiced if Los

15 Angeles Apparel, Inc. was added as a judgment debtor.

16            3.        On or about March 10, 2010 (the “Petition Date”), the Debtor filed a voluntary
17 petition for relief under chapter 11 of title 11 of the United States Code. The Debtor remains debtor

18 in possession pursuant to 11 U.S.C. §§ 1107 and 1108. No committee, trustee, or examiner has been

19 appointed in the Bankruptcy Case.

20            4.        The State Court Action was pending in the State Court as of the Petition Date. The
21 State Court Action, including all claims, counterclaims, and causes of action asserted therein, is a

22 civil action. The State Court Action is neither a proceeding before the United States Tax Court nor

23 a civil action by a governmental unit to enforce such governmental unit’s police or regulatory power.

24            5.        The State Court Action is a “core proceeding” under 28 U.S.C. §§ 157(b)(2)(A), (B)
25 and (O) because such action (1) is a matter concerning administration of the Debtor’s estate; (2)

26 directly relates to the allowance or disallowance of a claim against the Debtor; and (3) is a proceeding

27 affecting the liquidation of the assets of the Debtor’s estate.

28            6.        If the State Court Action, or any part thereof, is determined to constitute a “non-core

     1249111.2/81961.05002                                 2
                                                NOTICE OF REMOVAL
Case 2:22-bk-11335-VZ            Doc 8 Filed 03/10/22 Entered 03/10/22 20:17:20               Desc
                                  Main Document    Page 3 of 6



 1 proceeding,” the Debtor consents to the entry of final orders and judgments by this Bankruptcy

 2 Court.

 3            7.        The Court has jurisdiction over the State Court Action pursuant to 28 U.S.C. §

 4 1334(b). Therefore, pursuant to 28 U.S.C. § 1452(a), the Removed Case may be removed to the

 5 U.S. Bankruptcy Court.

 6            8.        In accordance with Local Bankruptcy Rule 9027-1(d), copies of documents (whether

 7 filed by a party or entered by the State Court) filed in the State Court Action prior to removal,

 8 together with a copy of the docket from the State Court Action, shall be filed with the clerk of the

 9 Court within 30 days of the date of filing this notice of removal, unless otherwise ordered by the
10 Court.

11            9.        Removal of the State Court Action is timely under Rule 9027(a)(2)(A) of the Federal
12 Rules of Bankruptcy Procedure (“FRBP”) because this notice of removal has been filed no later than

13 90 days after the Petition Date.

14            10.       The Debtors will promptly file a copy of this notice of removal with the clerk of the
15 State Court and serve copies of this notice of removal on all parties to the State Court Action and

16 the Office of the United States Trustee.

17            PLEASE TAKE FURTHER NOTICE that removal of the State Court Action and all
18 claims and causes of action asserted therein shall be effective upon the filing of a copy of this notice

19 of removal with the State Court pursuant to Rule 9027(c) of FRBP. Upon such filing, the State

20 Court Action shall be removed to the United States Bankruptcy Court for the Central District of

21 California, Los Angeles Division, and the parties to the State Court Action shall proceed no further

22 in the State Court Action against the Debtors unless otherwise ordered by the Court.

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     1249111.2/81961.05002                                3
                                                NOTICE OF REMOVAL
Case 2:22-bk-11335-VZ        Doc 8 Filed 03/10/22 Entered 03/10/22 20:17:20         Desc
                              Main Document    Page 4 of 6



 1 DATED: March 10, 2022                   THEODORA ORINGHER PC

 2
                                           By:    /s/ William N. Lobel
 3
                                                 William N. Lobel
 4                                               Christopher J. Harney

 5                                               [Proposed] Attorneys for the Debtor and Debtor in
                                                 Possession, Dov Charney
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     1249111.2/81961.05002                        4
                                        NOTICE OF REMOVAL
            Case 2:22-bk-11335-VZ                 Doc 8 Filed 03/10/22 Entered 03/10/22 20:17:20                                   Desc
                                                   Main Document    Page 5 of 6



                                        PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is: 535
Anton Blvd., Ninth Floor, Costa Mesa, CA 92626.

  A true and correct copy of the foregoing document entitled (specify): NOTICE                      OF REMOVAL OF STATE
  COURT ACTION will be served in the manner stated below:
1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On
03/10/2022, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:


                                                                                          Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On _______ I served the following persons and/or entities at the last known addresses in this bankruptcy case or
adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first class,
postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will
be completed no later than 24 hours after the document is filed.


                                                                                          Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date)03/10/2022, I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.


                                                                                      x Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 03/10/2022          Jennifer O’Keefe                                                         /s/ Jennifer O’Keefe
 Date                          Printed Name                                                   Signature




1249372.1/81961.05002 This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of
California.


June 2012                                                                                        F 9013-3.1.PROOF.SERVICE
            Case 2:22-bk-11335-VZ                 Doc 8 Filed 03/10/22 Entered 03/10/22 20:17:20                                   Desc
                                                   Main Document    Page 6 of 6


1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF):

     •    William N Lobel wlobel@tocounsel.com, jokeefe@tocounsel.com;sschuster@tocounsel.com
     •    United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov



3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL

Jessica Taran: jtaran@jtaranlaw.com
Jay S. Auslander: jauslander@wilkauslander.com;
Natalie Shkolnik: nshkolnik@wilkauslander.com;
Julie Cilia: jcilia@wilkauslander.com
Robert C. Reiland: rreiland@wilkauslander.com
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Robert W. Mockler rmockler@steptoe.com




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California.


June 2012                                                                                        F 9013-3.1.PROOF.SERVICE
